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 4
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 5    jshub@seegerweiss.com
 6
      Attorney for Plaintiff
 7    Nadeem Kachi, and on Behalf
 8    of All Others Similarly Situated,
 9
10                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA
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13
      NADEEM KACHI,                                   Case No. 3:13-cv-00412-JM
14    Individually and on Behalf of All
15    Others Similarly Situated,
16
                    Plaintiff,                        DECLARATION OF JONATHAN
17                                                    SHUB IN SUPPORT OF
18                                                    PLAINTIFF’S MOTION FOR
                                                      CLASS CERTIFICATION
19
20          v.
21
      NATROL, INC.;
22    NATROL ACQUISITION CORP;
23
      NATROL PRODUCTS, INC.;
      NATROL DIRECT, INC.; and
24    d/b/a MEDICAL RESEARCH INSTIUTE (MRI);
25
26    Defendants.
      _____________________________________________________/
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            SHUB DECLARATION ISO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                               CASE NO. 3:13-CV-00412 JM
     Case 3:13-cv-00412-JM-MDD Document 40-2 Filed 01/31/14 PageID.292 Page 2 of 3




 1           I, Jonathan Shub, declare as follows:
 2           1.     I am a partner with the law firm of Seeger Weiss LLP, one of the firms
 3    representing the Plaintiff in this action. I am a member in good standing of the bar of the
 4
      State of California and duly admitted to practice in this Court. This declaration is based
 5
      on my own personal knowledge and if called to testify, I could and would do so
 6
      competently as to the matters set forth herein. I submit this declaration in support of
 7
      Plaintiff’s Motion for Class Certification.
 8
             2.     Attached hereto as Exhibit A is a true and correct copy of the Deposition of
 9
      Jenia Khudagulyan taken pursuant to Fed.R.Civ.P. 30(b)(6).
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             3.     Attached hereto as Exhibit B is a true and correct copy of the labelling of L-
11
      Arginine 3000 and related materials. Portions of these materials were designated by
12
13
      Defendants as confidential pursuant to the confidentiality order entered in this litigation.

14           4.     Attached hereto as Exhibit C is a true and correct copy of the labelling of L-
15    Arginine 1000. Portions of these materials were designated by Defendants as
16    confidential pursuant to the confidentiality order entered in this litigation.
17           5.     Attached hereto as Exhibit D is a true and correct copy of labelling of
18    Platinum NO2 and related materials.
19           6.     Attached hereto as Exhibit E is a true and correct copy of excerpts from the
20    deposition of Guyao Wu, Ph.D.
21           7.     Attached hereto as Exhibit F is a true and correct copy of Defendant Natrol,
22    Inc.’s Response to Plaintiff’s Interrogatories, Set One. Portions of the responses were
23
      designated by Defendants as confidential pursuant to the confidentiality order entered in
24
      this litigation.
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             8.     Attached hereto as Exhibit G is a true and correct copy of Expert Report of
26
      Dr. William Campbell In Support of Class Certification along with the Curriculum Vitae
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      of Dr. Campbell.
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             SHUB DECLARATION ISO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                CASE NO. 3:13-CV-00412 JM
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 1          9.     Attached hereto as Exhibit H is a true and correct copy of the deposition of
 2    Nadeem Kachi.
 3          10.    Attached hereto as Exhibit I is a true and correct copy of the resume of my
 4
      firm, Seeger Weiss LLP. Additionally, as is clear from the firm resume, Seeger Weiss
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      has the experience, ability and resources to continue to prosecute this action vigorously.
 6
      In addition to its attorneys, who have developed a national reputation for excellent work,
 7
      the firm also maintains a staff of paralegals and litigation support staff. Seeger Weiss has
 8
      the financial resources to commit to aggressively litigate this case.
 9
            11.    Attached hereto as Exhibit J is a true and correct copy of the Declaration of
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      Nick Suciu, my co-counsel in this litigation, as well as the resume of his firm, the Oliver
11
      Law Group.
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13
            12.    Seeger Weiss’ practice focuses on class action and other complex litigation

14    in the areas of consumer fraud, mass torts, and antitrust violations.
15          I declare under penalty of perjury under the laws of the State of California and the
16    United States of America that the foregoing facts are true and correct.
17
18    Dated: January 31, 2014
19
                                                    /s/ Jonathan Shub
                                                    Jonathan Shub
20                                                  SEEGER WEISS LLP
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             SHUB DECLARATION ISO PLAINTIFF’S MOTION FOR CLASS CERTIFICATION
                                CASE NO. 3:13-CV-00412 JM
